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United States District Court
for the

District of Massachusetts

) Civil Action No.

FRIENDS OF RUTH & EMILY, iNC., ) 1:17-CV-11809~WGY
Piaintiff, )
)
V )
§
THE CITY OF NEW BEDFORD, )
Defendant )

DEFEN])ANT’S MOTION TO ])ISMISS THE PLAINTIFF’S COMPLAINT

Now comes The City of New Bedford, Massachusetts (here-in-after Defendant) through
its attorney and requests that this Court dismiss the case at bar. For its reasons, Defendant asserts
that the Plai;ntiff Corporation has submitted its Cornplaint to this Coutt Without having a licensed
attorney. All available facts establish that Plaintiff is incorporated in the Comnionwealth of
Massachusetts. There are long-standing and consistent court interpretations of 28 USCS § 1654
that indicate “a corporation may be represented only by licensed connsel.” In re Victor Publishers
_lng, 545 F.Zd 285 (1st Cir. 1976).

 

Respectt`ully submitted,
Municipal Defendants

By their Attorney,

/S/ Kre R. Es inoia
Assistant City Solicitor

BBO #649389

CITY OF NEW BEDFORD
Ofiice of the City Solicitor
133 Willia.m Street, Room 203

 

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New Bedford, MA 02740
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Dated: October 16, 2017

I hereby certify that a true copy of the above document Was filed through the ECF system
Will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be Sent to those indicated as nonregistered
participants on October 16, 2017.

/s/ Kreg R. Espinola
Assistant City Solicitor

BBO #649389

 

